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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                            PLAINTIFF

v.                                  NO. 4:14CR00188-07 JLH

TOMMIE ICE                                                                        DEFENDANT

                                           ORDER

       Pursuant to Federal Rule of Criminal Procedure 35(a), Tommie Ice’s unopposed motion to

amend the judgment is GRANTED. Document #326. The Judgment is amended to reflect that

Tommie Ice’s sentence will run concurrent with the sentence imposed in State of Arkansas v.

Tommie Ice, Pulaski County Circuit Court Case No. 60CR-14-2321.

       All other terms and conditions of the original sentence remain unchanged and in full force

and effect as previously imposed.

       IT IS SO ORDERED this 4th day of June, 2015.



                                                    ___________________________________
                                                    J. LEON HOLMES
                                                    UNITED STATES DISTRICT JUDGE
